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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA




UNITED STATES OF AMERICA                                                      CRIMINAL ACTION

VERSUS                                                                                      No. 06-269

RONNELL VALLERY                                                                          SECTION: I




                             CERTIFICATE OF APPEALABILITY

        A motion for a certificate of appealability (“COA”) has been filed in the above-captioned

case from a final order in a proceeding pursuant to 28 U.S.C. § 2255 (2006). Considering the

motion, the record, the requirements of Federal Rule of Appellate Procedure 22(b)1 and 28

U.S.C. § 2253(c)(1),2 and for the following reasons, a COA SHALL NOT BE ISSUED.

        A COA will be issued “only if the applicant has made a substantial showing of the denial

of a constitutional right.” 28 U.S.C. § 2253(c)(2); see Miller-El v. Cockrell, 537 U.S. 322, 330,

123 S. Ct. 1029, 1036, 154 L. Ed. 2d 931, 946 (2003); Foster v. Quarterman, 466 F.3d 359, 364

(5th Cir. 2006). The applicant makes a substantial showing if it is demonstrated “that jurists of

reason could debate the propriety of the district court’s assessment of his constitutional claims or



        1
         Rule 22 states in pertinent part: “[I]n a 28 U.S.C. § 2255 proceeding, the applicant
cannot take an appeal unless a circuit justice or a circuit or district judge issues a certificate of
appealability under 28 U.S.C. § 2253(c).”
        2
          Section 2253(c)(1) provides in pertinent part: “Unless a circuit justice or judge issues a
certificate of appealability, an appeal may not be taken to the court of appeals from . . . (B) the
final order in a proceeding under section 2255.”
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conclude that his claims ‘are adequate to deserve encouragement to proceed further.’” United

States v. Wainwright, 237 Fed. App’x 913, 914 (5th Cir. 2007) (quoting Miller-El, 537 U.S. at

327, 123 S. Ct. at 1034, 154 L. Ed. 2d at 944); see Foster, 466 F.3d at 364.

        For the reasons expressed in this Court’s prior opinion denying petitioner relief,3 and

having found that petitioner has failed to make a substantial showing of the denial of a

constitutional right,

        IT IS ORDERED that a certificate of appealability SHALL NOT BE ISSUED.

        New Orleans, Louisiana, September 16, 2009.




                                                           LANCE M. AFRICK
                                                      UNITED STATES DISTRICT JUDGE




        3
            R. Doc. No. 403.

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